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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

YETI COOLERS, LLC,         §
                           §
            Plaintiff,     §
                           §                     Case No. 1:17-cv-0091-RP
vs.                        §
                           §
                           §
                           §
ONTEL PRODUCTS CORPORATION
                           §
and WORLD PACK USA, LLC,
                           §
            Defendants.    §
                           §

                                     CONSENT JUDGMENT

        WHEREAS, YETI Coolers, LLC (“YETI”) has created, and extensively and

continuously used, unique, non-functional designs as source identifiers of its 36 oz. insulated

bottle called the “YETI 36 oz. Rambler Bottle” and an insulated beverage holder called the

“YETI Rambler Colster,” both shown below, and YETI holds extensive trade dress and other

intellectual property rights relating thereto.

                          YETI 36 oz. Rambler          YETI Rambler
                                Bottle                   Colster




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        WHEREAS, Ontel Products Corporation (“Ontel”) and World Pack USA, LLC (“World

Pack”) (collectively, “Defendants”) have marketed, promoted and offered for sale in the United

States the below bottle and sleeve called the “Rocky Mountain” bottle and “Rocky Mountain”

sleeve, respectively.

                    Exemplary Image of the                  Exemplary Image of the
                    Rocky Mountain Bottle                   Rocky Mountain Coozie




        WHEREAS, YETI objects to Ontel’s and World Pack’s offers to sell the Rocky

Mountain bottle and the Rocky Mountain coozie, and initiated the above-captioned action, and,

on February 8, 2017, filed a Complaint (D.I. 1) (the “Complaint”) for: (I) federal trade dress

infringement under 15 U.S.C. § 1125(a); (II) federal unfair competition and false designation of

origin under 15 U.S.C. § 1125(a); (III) federal trade dress dilution under 15 U.S.C. § 1125(c);

(IV) patent infringement of U.S. Des. Patent No. D752397 under 35 U.S.C. § 271; (V) patent

infringement of U.S. Des. Patent No. D760586 under 35 U.S.C. § 271; (VI) trade dress dilution

under TEX. BUS. & COM. CODE § 16.103; (VII) trade dress infringement under Texas

common law; (VIII) unfair competition under Texas common law; (IX) misappropriation under

Texas common law; and (X) unjust enrichment.



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        WHEREAS, YETI and Defendants have agreed to enter into this Consent Judgment and

Injunction as a part of their agreement to resolve the foregoing dispute, without further resort to

litigation;

        It is THEREFORE hereby ORDERED, ADJUDGED and DECREED that:

        1.        The Court has subject matter jurisdiction over this action pursuant to at least 15

U.S.C. § 1121(a) and 28 U.S.C. §§ 1331, 1338(a) & (b), and 1367(a).

        2.        This Court has personal jurisdiction over Defendants and venue is proper in this

judicial district as to this matter at least because, inter alia, Defendants are doing business in the

State of Texas, including in this District.

        3.        Defendants have marketed and offered for sale a sleeve and bottle, in

configurations that YETI accused of violating YETI’s intellectual property rights, which are the

Rocky Mountain sleeve and the Rocky Mountain bottle depicted in the photographs above

(collectively, the “Accused Products”).

        4.        YETI owns all right, title, and interest in and to the trade dress of the YETI 36 oz.

Rambler Bottle and the YETI Rambler Colster, including the overall look and appearance of the

YETI 36 oz. Rambler Bottle and YETI Rambler Colster as defined in Paragraphs 18 and 20 of

the Complaint (respectively, the “YETI 36 oz. Rambler Bottle Trade Dress” and the “YETI

Rambler Colster Trade Dress”).

        5.        Defendants agree that the YETI 36 oz. Rambler Bottle Trade Dress and YETI

Rambler Colster Trade Dress are unique, distinctive, non-functional, well known, famous, and

have acquired distinctiveness and are associated by consumers with YETI, and that the goodwill

associated with the YETI 36 oz. Rambler Bottle Trade Dress and YETI Rambler Colster Trade

Dress belong exclusively to YETI.




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        6.        Defendants agree that the YETI 36 oz. Rambler Bottle Trade Dress and YETI

Rambler Colster Trade Dress are valid and enforceable.

        7.        Defendants agree that the YETI 36 oz. Rambler Bottle Trade Dress and YETI

Rambler Colster Trade Dress are not essential to the use or purpose of bottles and coozies,

respectively, do not affect the cost or quality of bottles and coozies, are not functional, are not

the reason the YETI bottles and coozies work, and, outside of the association with YETI’s

reputation and goodwill, is not important to the commercial success of bottles and coozies

generally.

        8.        Defendants agree that exclusive use of the YETI 36 oz. Rambler Bottle Trade

Dress and YETI Rambler Colster Trade Dress by YETI will not put competitors at a significant

non-reputation-related disadvantage in the marketplace.

        9.        Defendants shall not at any time now or in the future manufacture, have

manufactured on their behalf, market, offer to sell, sell, use, import, purchase, promote or

distribute, whether directly or indirectly, any of the Accused Products.

        10.       Except as provided herein, each party shall bear its own costs and attorneys’ fees.

        11.       This Court shall retain jurisdiction over the parties for the purpose of enforcing

the terms of this Consent Judgment.

        12.       This Consent Judgment represents a final adjudication of all claims,

counterclaims, and defenses that were, or could have been, brought between YETI and

Defendants in this case. This Consent Judgment is intended to be final and shall bind YETI and

Defendants on all issues that were or could have been litigated in this proceeding and that no

appeal shall be taken herefrom.




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                                          SO ORDERED:


     Date:____________                    __________________________________
                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE




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Consented and Agreed to:

 ANDREWS KURTH KENYON LLP                     DICKINSON WRIGHT PLLC

 DATED:                                       DATED:


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 YETI COOLERS, LLC                            ONTEL PRODUCTS CORPORATION
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